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 4
     Attorney for Defendant, PAUL WHITMORE
 5
 6                         UNITED STATES DISTRICT COURT
 7                         EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,   )              CASE NO: CRF-02-5301 OWW
                                 )
10            Plaintiff,         )              SECOND AMENDED
                                 )              STIPULATION AND ORDER
11        v.                     )              TO CONTINUE SENTENCING
                                 )
12   PAUL WHITMORE,              )
                                 )
13            Defendant.         )
     ____________________________)
14
          The parties hereto, by and through their respective attorneys, stipulate and
15
     agree that the sentencing scheduled for August 14, 2006, be continued until
16
     September 5, 2006 at 1:30 p.m. in the above-entitled court.
17
          Any Formal Objections to be filed on behalf of defendant must be submitted
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     to the court by July 26, 2006. Government’s response to Defendant’s Formal
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     Objections must be submitted to the court by August 23, 2006.
20
          The parties also agree that any delay resulting from this continuance shall
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     be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
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     3161(h)(8)(A) and 3161(h)(8)(B)(I).
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24
     DATED: June 13, 2006               /s/ David Gappa
25                                      DAVID GAPPA
                                        Assistant United States Attorney
26                                      This was agreed to by Mr. Gappa
                                        via telephone, on June 13, 2006
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 1   DATED: June 13, 2006               /s/ Roger K. Litman
                                        ROGER K. LITMAN
 2                                      Attorney for Defendant
                                        PAUL WHITMORE
 3
 4
 5                                      ORDER
 6        The court having considered the stipulation of the parties and GOOD CAUSE
 7   APPEARING, the court now orders that the sentencing hearing currently scheduled
 8   for August 14, 2006, be continued to September 5, 2006 at 1:30 p.m.
 9   IT IS SO ORDERED.
10   Dated: June 14, 2006                   /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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